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                      UNITED STATES DISTRICT COURT FOR THE
                         SOUTHERN DISTRICT OF FLORIDA
                                  Miami Division

                            Case Number: 23-24620-CIV-MORENO

  SINDURA JASTHI,

                        Plaintiff,

         v.

  US ATTORNEY GENERAL, MERRICK
  GARLAND, et al.,
                   Defendants.

  _______________________________________/

               DEFENDANTS’ RESPONSE TO ORDER TO SHOW CAUSE

         The certificate of service filed by Plaintiff on January 19, 2024 reflected only service

  on the respective agencies and officers. See ECF No. 9 at 4-6. Following communication

  between the parties, Plaintiff completed service on Defendants on February 16, 2024, when

  the complaint and summons were served on the US Attorney’s Office. The parties are

  working to resolve the issues pending before the Court. Accordingly, Defendants

  respectfully request—with the agreement of Plaintiff—a 45-day extension to respond to the

  complaint from April 16, 2024 through May 31, 2024.

         Federal Rule of Civil Procedure 4(i) sets forth the requirements for service of process

  on the United States, its agencies, and officers. These requirements are obligatory and

  failure to comply defeats proper service and prevents the Court from acquiring jurisdiction

  over federal defendants. See Marcus v. Postmaster Gen., U.S. Postal Serv. Se. Area, 461 F. App’x

  820, 822-823 (11th Cir. 2011). Furthermore, “a defendant’s actual notice is not sufficient to

  cure defectively executed service.” Albra v. Advan, Inc., 490 F.3d 826, 829 (11th Cir. 2007).

  Under Rule 4(i)(2), to serve a United States officer or employee in an official capacity, “a


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  party must serve the United States and also send a copy of the summons and of the

  complaint by registered or certified mail to the agency, corporation, officer, or employee.”

  To serve the United States, the plaintiff must serve the:

          (1) United States Attorney: by either (a) personally delivering the summons and
          complaint to the United States’ Attorney for the judicial district in which the action is
          brought, or his designee, or (b) sending the summons and complaint by registered or
          certified mail to the civil process clerk at the office of the United States Attorney; and

          (2) Attorney General: By also sending a copy of the summons and complaint by
          registered or certified mail to the United States Attorney General in Washington, D.C.

          See Fed. R. Civ. P. 4(i)(1).

          Plaintiff completed service on Defendants when she properly served the United

  States Attorney’s Office on February 16, 2024 by certified mailing of the complaint and

  summons. Accordingly, Defendants’ original response deadline was April 16, 2024.

  Defendants submit that the foregoing demonstrates good cause and that the Court should

  not enter default. To facilitate the resolution of this matter and minimize the use of judicial

  and the parties’ resources, Defendants respectfully request an extension through May 31,

  2024.

                                               Respectfully submitted,
                                               MARKENZY LAPOINTE
                                               UNITED STATES ATTORNEY

                                         By:   Christopher Cheek
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                             CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on April 15, 2024, I electronically filed the foregoing

  document with the Clerk of the Court using CM/ECF.

                                        Christopher Cheek
                                        CHRISTOPHER CHEEK, AUSA




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